           Case 1:17-cv-04853-JSR Document 51 Filed 09/25/17 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

SARAH PALIN, an individual,

                       Plaintiff,                        No. 17 Civ. 4853

        – against –                                      Hon. Jed S. Rakoff
THE NEW YORK TIMES COMPANY,                              ECF Case
A New York corporation

                       Defendants .




                                      NOTICE OF MOTION

        PLEASE TAKE NOTICE that upon the annexed Memorandum of Law and Declaration

of Shane B. Vogt, Esq. (and the exhibits thereto), Plaintiff, Sarah Palin, will move this Court

before the Honorable Jed. S. Rakoff, United States District Judge for the Southern District of

New York, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,

Courtroom 14B, New York 10007, at a date and time to be designated by this Court, for an Order

pursuant to Fed, R. Civ. Proc. 59(e) and Local Rule 6.3, for reconsideration of the Court’s

August 29, 2017 Order dismissing Plaintiff’s Complaint with prejudice and to alter or amend the

Court’s August 30, 2017 Judgment.


        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the conference held on

September 11, 2017, defendant shall file its response on or before October 9, 2017, and plaintiff

shall file her reply, if any, on or before October 16, 2017.




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           Case 1:17-cv-04853-JSR Document 51 Filed 09/25/17 Page 2 of 3




Dated: September 25, 2017
                                       /s/ Shane B. Vogt
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                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Notice of Motion was filed electronically on the 25th
day of September 2017. Notice of this filing will be sent by operation of the Court’s electronic
filing system to counsel of record for all parties as indicated on the electronic filing receipt.
Parties and their counsel may access this filing through the Court’s system.

                                            /s/ Shane B. Vogt
                                            Attorney




                                               3
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